














COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-08-020-CV



TAYLOR CHERYL LORETTA HUDSON
	
APPELLANT



V.



JAMES NICHOLAS HUDSON
 	APPELLEE

 
	

----------

FROM THE 325
th
 DISTRICT COURT OF TARRANT COUNTY

----------

MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

----------

We have considered “Appellant’s Motion For Dismissal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by appellant
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.



PER CURIAM

PANEL D: &nbsp;GARDNER, WALKER, and MCCOY, JJ. &nbsp;



DELIVERED: &nbsp;April 17, 2008 &nbsp;

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




